            Case 4:98-cr-40124-JPG                     Document 322 Filed 08/06/08                               Page 1 of 2          Page ID
~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations #300
              Sheet 1




         UNITED STATES OF AMERICA
                               v.
                  RICKY SHANNON

                                                                                     Case No. 4:98CR40124-02-JPG
                                                                                     USM No. 04608-025
                                                                                      Melissa A. Day, AFPD
                                                                                                             Defendant's Attorney
THE DEFENDANT:
r¥' admitted guilt to violation of condition(s)      _a_s_a_lI_e.::;g_e_d_in-..:.p_e_ti_ti_o_n       of the term of supervision.
o was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number               Nature of Violation                                                                       Violation Ended
Statutory                           The defendant tested positive for cocaine                                            06/16/2008




       The defendant is sentenced as provided in pages 2 through                             2   of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untIl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes 10
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5303                                   07/30/2008

Defendant's Yel;lr of Birth:           1971
                                                                                    ___          ---'~~t
City and State of Defendant's Residence:
Carbondale, IL
                                                                                      J. Phil Gilbert                              District Judge
                                                                                                            Name and Title of Judge




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                                                                                                                     Date
            Case 4:98-cr-40124-JPG                       Document 322 Filed 08/06/08           Page 2 of 2         Page ID
 AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations #301
              Sheet 2- Imprisonment

                                                                                              Judgment - Page     2     of       2
 DEFENDANT: RICKY SHANNON
 CASE NUMBER: 4:98CR40124-02-JPG


                                                         IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
18 months




      o    The court makes the following recommendations to the Bureau of Prisons:




      tI The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                  to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                     By                                                              _
                                                                                        DEPUTY UNITED STATES MARSHAL
